Case 1:05-cr-00039-MW-GRJ        Document 436     Filed 04/11/08   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                           CASE NO.: 1:05cr39-SPM/AK

KEARA NIKYELA JOHNSON,

           Defendant.
______________________________/

           ORDER EXTENDING VOLUNTARY SURRENDER DATE

      The Court has been advised by Attorney Huntley Johnson that Defendant

Keara Nikyela Johnson has been designated by the Bureau of Prison to serve

her sentence at the Federal Correction Center in Danbury, Connecticut. Ms.

Johnson requests a one-week extension of her voluntary surrender date to allow

time, if she can manage, to self-surrender at Danbury. For good cause shown, it

is

      ORDERED AND ADJUDGED that Ms. Johnson’s self-surrender date is

extended to April 21, 2008.

      DONE AND ORDERED this 11th day of April, 2008.


                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
